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Attorney for Plaintiff
  IN THE UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF
                        OHIO, EASTERN DIVISION


WILLIAM BURKE,                              Case No.
                      Plaintiff,                           COMPLAINT AND
                                                        DEMAND FOR JURY TRIAL
      v.
JAMES ALEX FIELDS JR.,                      Judge:
VANGUARD AMERICA, ANDREW
ANGLIN, GREGORY ANGLIN,
DAILY STORMER, MOONBASE                     No.
HOLDINGS, LLC, MORNING STAR
MINISTRIES USA, INC., ANGLIN &
ANGLIN, LLC, ROBERT RAY,
MATTHEW HEIMBACH, THE
TRADITIONALIST WORKER PARTY,
JASON KESSLER, PROUD BOYS,
RICHARD SPENCER, NATIONAL
POLICY INSTITUTE, DAVID DUKE,
NATIONALIST FRONT, AUGUSTUS
SOL INVICTUS, HONORABLE
SACRED KNIGHTS, JOHN DOE 1-
1000 AND JANE DOE 1-1000,
                      Defendants.


                                            COMPLAINT
       Now comes the plaintiff William (“Bill”) Burke, by and through his attorney of record,

Michael L. Fradin, and for causes of action against the above-captioned Defendants jointly and

severally, and states as follows:

                                    NATURE OF THE ACTION


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       1.      Over the weekend of August 12, 2017, hundreds of neo-Nazis, white

supremacists, and white nationalists, including several residents of Ohio, traveled to

Charlottesville, Virginia, in order to intimidate and terrorize its residents and the wider public,

commit acts of violence, and use the town and events as an opportunity to garner attention for

their hateful message and agenda.

       2.      The Plaintiff in this action, Bill Burke, is a longtime resident of Athens, Ohio and

an active, respected member of the community. Despite being a white man, like many of the

terroristic neo-Nazi and white nationalist protestors in Charlottesville over the weekend of

August 12, 2017, Plaintiff Burke has a deep love and commitment to this country, his

community, and the values they represent. These values include equality and tolerance—the

opposite message of what Defendants were in Charlottesville to promote. Plaintiff Burke was

severely injured as a result of the events in Charlottesville on August 12, 2017. He was struck in

a vicious car attack perpetrated by Defendant James Alex Fields Jr. This car attack took the life

of one woman, Heather Heyer, whose death occurred in the presence of Plaintiff Burke—serving

as an additional source of trauma for Plaintiff Burke. In addition to the physical injuries he

sustained, which required and continue to require extensive and expensive medical treatment, he

continues to suffer deep and debilitating psychological and emotional distress that prevents him

from resuming his former life and enjoying the basic sense of peace, safety, and tranquility that

most people in this country take for granted.

       3.      Defendants are the individuals and organizations that conspired to plan, promote,

and carry out the violent events in Charlottesville. They are neo-Nazis, Neo-Fascist, Klansmen,

white supremacists, and white nationalists. They embrace and espouse racist, anti-Semitic, sexist,

homophobic, and xenophobic ideologies. Defendants brought with them the imagery of the



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Holocaust, of slavery, of Jim Crow, and of fascism. They also brought with them the imagery of

immanent violence, including semi-automatic weapons, rifles, pistols, rods, armor, shields, and

torches. The chants they vocalized over the weekend included “Jews will not replace us,” “blood

and soil,” and “this is our town now.” Since at least the beginning of 2017, Defendants have been

engaged together in a concerted effort to intimidate and instill fear throughout the country, from

Charlottesville, Virginia to Ohio and beyond, wherever their messages are given a platform.

       4.      Defendants traveled to and demonstrated in Charlottesville, Virginia in order to

incite violence. Under the pretext of a “rally,” they titled “Unite the Right,” Defendants spent

months coordinating their efforts both on the internet and in person. The violence, suffering, and

emotional distress that occurred in Charlottesville, specifically the physical and psychological

injuries Plaintiff Burke received, were direct, intended, and foreseeable results of Defendants’

unlawful conspiracy. The violent events, including the attempted murder and assault of Plaintiff

Burke, occurred because Defendants unlawfully, willfully, and knowingly conspired,

confederated, aided and abetted, tacitly and/or expressly agreed to participate, cooperate, and

engage in unlawful acts pursuant to a common course of conduct, namely the incitement,

promotion and sponsoring of violent acts and terrorism for the purpose of instilling fear in the

local Charlottesville community and the wider public.

       5.      The events of the weekend of August 12, 2017 (hereinafter referred to as

“Charlottesville”) were part of Defendants’ coordinated campaign to intimidate, harass, incite,

and cause violence to people based on their race, religion, ethnicity, and sexual orientation in

violation of the values of this country and numerous state and federal laws.

       6.      By this lawsuit, Plaintiff Burke seeks to challenge Defendants’ actions under the

laws of the United States of America and the State of Ohio. Plaintiff Burke seeks compensatory



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and injunctive relief. The aim of this lawsuit is to ensure that nothing like this will happen again

at the hands of Defendants, whether it be in Virginia, Ohio, or anywhere else in the United States

of America.

                                  JURISDICTION AND VENUE
       7.      The Defendants owed a legal duty to Plaintiff, who at all relevant times was a

resident of Athens, Ohio, not to cause or incite others to cause bodily harm to Plaintiff. These

breaches of duty affect a legitimate interest of the state of Ohio in protecting, governing, or

regulating any person, property, thing, transaction, or activity in this state.

       8.      Defendants, by means of a computer, computer system, computer network,

telecommunication, telecommunications device, telecommunications service, or information

service, caused or knowingly permitted writings, data, images, or other telecommunication to be

disseminated or transmitted into this state, in furtherance of a violent, criminal, and terroristic

conspiracy.

       9.      Defendants, by means of a computer, computer system, computer network,

telecommunication, telecommunications device, telecommunications service, or information

service, caused or knowingly permitted writings, data, images, or other telecommunication to

influence James Alex Fields Jr. who at all relevant times, was a resident of this state.

       10.     Each Defendant to this lawsuit was complicit or in conspiracy with either James

Alex Fields Jr., Daily Stormer, Andrew Anglin, and/or Greg Anglin, all of whom, at all relevant

times, were residents of the State of Ohio.

       11.     Each Defendant to this lawsuit participated in or was complicit with the

dissemination or transmittal of hateful and/or racist information or data or telecommunications

into the State of Ohio, in furtherance of a violent, criminal, and terroristic conspiracy.



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       12.     Each Defendant to this lawsuit has engaged in a course of conduct that violates

the Ohio Revised Code, elements of which, including but not limited to inciting an Ohioan,

James Alex Fields Jr., towards terrorism and violence, occurred in the State of Ohio.

       13.     An Ohio resident suffered substantial life changing physical harm to another Ohio

resident as a result of the organizational terror disseminated into this community from hate

groups, their leaders, and their foot soldiers.

       14. This court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 as this case

is brought under the laws of the United States, specifically 18 U.S.C. § 1962(c) et. seq. The Court

has supplemental jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367.

       15. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because a substantial

part of the events and omissions giving rise to this claim occurred in this district, including many

of the wrongs herein alleged. In addition, multiple defendants reside in this district, including the

centers of the conspiracy.

                                              PARTIES
                                                  Plaintiff
       16.     At all relevant times that the Defendants solicited and provided support for

terrorism, the Plaintiff, Bill Burke, (hereinafter “Plaintiff”) was a resident of Athens, Ohio.

Plaintiff Burke was severely injured both physically and psychologically when, on August 12,

2017, in Charlottesville, Virginia Defendant James Alex Fields Jr., using his vehicle as a

weapon, rammed his car into a crowd of people (largely composed of peaceful, non-violent, anti-

hate protestors). Plaintiff Burke was directly struck by Defendant Fields’ vehicle and suffered

serious physical injuries from which he is still recovering, and which may be permanent.

Defendant Fields killed one person with his vehicle, Heather Heyer. Heather Heyer died in the




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presence of Plaintiff Burke. In addition to Plaintiff’s physical injuries, Plaintiff has experienced

severe psychological and emotional suffering as a result of these events.

                                            Defendants
        17.    Defendant James Alex Fields Jr. (“Fields”) is a racist, violent, and hateful

individual and a member of the white nationalist group Vanguard America. On August 12, 2017,

Defendant Fields committed an act of domestic terrorism when he killed a 32-year old woman

(Heather Heyer), and attempted to kill other innocent people, including Plaintiff Bill Burke, by

striking them with his Dodge Challenger, in furtherance of a violent, criminal, and terroristic

conspiracy. On December 7, 2018, Fields was convicted of first-degree murder along with

several counts of aggravated malicious wounding and leaving the scene of an accident. At all

relevant times, Fields was a resident of Lucas County, Ohio and was acting as a member and

agent of Defendant Vanguard America.

        18.    At all relevant times, Defendant Vanguard America was a racist and violent

organization that promotes the “blood and soil” ideology; an ideology based around the

promotion of white nationalism and the belief that people with “white blood” have a special

bond with “American soil.” The group’s website states that to join the group a person must be

“of at least 80% white/European heritage.” Defendant Fields is a member of Defendant

Vanguard America; he wore their uniform and carried a Vanguard America shield at the Unite

the Right rally on August 12, 2017. Defendant Vanguard America helped organize and promote

the Unite the Right rally which occurred in Charlottesville on August 11-12, 2017; and conspired

to and did incite violence in Charlottesville on August 12, 2017, which caused Plaintiff’s

injuries.




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       19.     At all relevant times. Defendant Andrew Anglin, was a racist, violent, and hateful

person who conspired with other defendants, most egregiously his father (Gregory Anglin), to

incite violence in the City of Charlottesville, Virginia on August 12, 2017. Defendant Andrew

Anglin is the founder of Defendant Daily Stormer, which has called itself “the world’s most

genocidal” website. The Daily Stormer was named after “Der Stürmer,” a Nazi propaganda

tabloid known for virulently anti-Semitic caricatures and published by Julius Streicher, who was

later convicted of crimes against humanity at Nuremberg. Andrew Anglin and his associates at

The Daily Stormer, including Defendant Robert “Azzmador” Ray, use The Daily Stormer’s

website “as a hardcore front for the conversion of masses into a pro-white, Anti-Semitic

ideology,” “to sell global white supremacy,” and to “make a racist army.” The website, which

became the most visited hate site on the Internet in 2016, includes sections titled “Jewish

Problem” and “Race War.” The Chief Technical Officer of The Daily Stormer has posited that

The Daily Stormer “has been effective at what [it is] doing” by “the manifestation of our people

on the ground in the real world.” Followers of Andrew Anglin and The Daily Stormer, who call

themselves “Stormers,” communicate on the website’s forum, which is moderated by Andrew

Anglin and accessible only with a special “dark web” tor browser. On Andrew Anglin’s orders

and under his continuing supervision, Stormers have formed local chapters, called “Stormer

Book Clubs,” as part of Andrew Anglin’s plan to “build an invisible empire.” Andrew Anglin

uses The Daily Stormer forum to actively monitor the Book Clubs and uses the website to issue

orders on how to organize. “Official Operations” of Stormer Book Clubs include firearms

training, organizing for protests, and being ready to respond to “challenges” issued by Andrew

Anglin. The Daily Stormer established “meet ups” and chat rooms that co-conspirators and

attendees used throughout the August 11 and 12 weekend to coordinate their violence. The Daily



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Stormer released its own poster promoting the “rally” that read, “UNITE THE RIGHT/ Join

Azzmador and The Daily Stormer to end Jewish influence in America,” accompanied by a Nazi-

like figure wielding a hammer, ready to smash a Jewish star. For months before the Unite the

Right events on August 11 and 12, Andrew Anglin organized his followers to attend and

prepared them to commit racially motivated violent acts in Charlottesville. Andrew Anglin

orchestrated the movements of The Daily Stormer followers and incited them to violence on a

live feed contemporaneously with the events as they occurred on August 11 and 12 in

Charlottesville. At all relevant times, Andrew Anglin was a resident of Hamilton County, Ohio

and was acting as a member and agent of The Daily Stormer.

       20.     At all relevant times. Defendant Gregory Anglin (“Greg Anglin”), was a racist,

violent, and hateful person who conspired with other defendants, most egregiously his son

(Andrew Anglin), to incite violence in the City of Charlottesville, Virginia on August 12, 2017.

Defendant Greg Anglin is and was a resident of Worthington, Ohio. He owns and operates a

business called “Morningstar Ministries” which, to the knowledge of Plaintiff Burke, leases

office space at 6827 N. High St. in Worthington, Ohio. Evidence of Greg Anglin’s involvement

in this criminal and terroristic conspiracy is immense. In March 2013 the web domain

“dailystormer.com” was registered using the email address gergorymarkanglin@yahoo.com,

with the accompanying mailing address of 6827 N. High St. in Worthington, Ohio. On July 4,

2013, Andrew Anglin debuted his new website that his father helped register and establish.

Defendant Greg Anglin’s primary form of complicity in the violent, criminal, and terroristic

conspiracy that unfolded on August 12, 2017 was his role as a money-mover for his son, Andrew

Anglin and his son’s website (the Daily Stormer) in the preparation of the events that took place

on August 12, 2017. For years, Greg Anglin has been cashing checks and performing other



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financial services for his son who has been living on the run, essentially as a fugitive, due to his

reputation and pending legal action against him resulting from the Charlottesville incident on

August 12, 2017. “Daily Stormer” is the largest and most trafficked white nationalist hate site in

the world. Greg Anglin has a foundational role in its creation, development, and continued

existence. Greg Anglin is also said to have “substantial real estate investments in Worthington,

Columbus, and Powell.”

       21.     At all relevant times, Defendant Daily Stormer was a racist and violent

organization which promotes its vision of hatred and white supremacism through its website.

Articles on the Daily Stormer make clear that the intent of the Unite the Right Rally was to incite

violence against minorities and those who believe in equal rights. As one article states: "this will

clearly be an earth-shaking day that will go down in the history books. It can really only be

explained as a perfect storm. That everything has been leading up to this. That our time has come

. . . It will be a monumental turning point in the progression of our movement. Everything will be

different afterwards . . . Next stop: Charlottesville, VA. Final stop: Auschwitz." Defendant Daily

Stormer further exposes the intent of the organizers and attendees of the Unite the Right rally by

its continued disparaging of the deceased victim of the terrorist attack perpetrated by Defendant

Fields and facilitated by Defendants, stating that it was “glad she was dead.” Defendant Daily

Stormer assisted in organizing and promoting the Unite the Right rally which occurred in

Charlottesville, Virginia over the weekend of August 12, 2017 which resulted in Plaintiff’s

injuries and conspired to, and did, incite violence in the City of Charlottesville on August 12,

2017 in furtherance of a violent, criminal, and terroristic conspiracy.

       22.     At all relevant times, Defendant Moonbase Holdings, LLC was an Ohio, for-

profit, limited-liability corporation registered by Defendant Andrew Anglin that operates The



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Daily Stormer’s website. Defendant Andrew Anglin has encouraged readers to financially

support Defendant Daily Stormer by sending donations using bitcoin, checks, and credit cards,

noting that “it won’t say ‘Daily Stormer’ on your credit card bill, but will instead say ‘Moonbase

Holdings,’ which either sounds like a hobby shop or a multi-level marketing scheme run by

reptoids, Anyway, it looks innocuous on your statement.”

       23.     At all relevant times, Defendant Morning Star Ministries USA, Inc. was an Ohio,

non-for-profit corporation registered by Defendant Greg Anglin that utilized its physical location

and mailing address in the furtherance of the violent, criminal, and terroristic conspiracy that

unfolded in Charlottesville on August 12, 2017. While much of Defendant Morning Star

Ministries USA, Inc.’s material support for the criminal and terroristic conspiracy took place at

the Worthington, Ohio location (located at 6827 N. High St.), Defendant Morning Star Ministries

USA Inc.’s public corporate registration lists its address as 979 High St., Columbus, Ohio 43085.

Defendant Morning Star Ministries USA, Inc. has operated a mailing address through which

supporters of the Charlottesville conspiracy were able to financially support Andrew Anglin, The

Daily Stormer, other co-conspirators, and ultimately James Fields Jr.’s attack against peaceful

protestors on August 12, 2017.

       24.     At all relevant times, Defendant Anglin & Anglin LLC, was an Ohio, for-profit

corporation registered by Defendant Greg Anglin that utilized its physical location and mailing

address in the furtherance of the violent, criminal, and terroristic conspiracy that unfolded in

Charlottesville on August 12, 2017. Defendant Anglin & Anglin LLC was registered as a

domestic for-profit limited liability corporation on January 12, 2016. Its corporate address is

listed at 6827 N. High Street, Suite 121 in Worthington, Ohio 43085. Defendant Anglin &

Anglin LLC has operated a mailing address through which supporters of the Charlottesville



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conspiracy were able to financially support Andrew Anglin, The Daily Stormer, other co-

conspirators, and ultimately James Fields Jr.’s’ attack against peaceful protestors on August 12,

2017.

        25.    At all relevant times, Defendant Robert “Azzmador” Ray (“Ray”) was a racist,

violent, and hateful person who conspired with other defendants in this complaint to incite

violence in the City of Charlottesville, Virginia on August 12, 2017, in furtherance of a violent,

criminal, and terroristic conspiracy. Defendant Ray is a resident of Texas, a neo-Nazi, and a

writer for The Daily Stormer, and served as an agent of The Daily Stormer in organizing the

Unite the Right rally and events. He is the leader of the “Dallas Forth Worth Stormer Book

Club,” which is one of many local groups The Daily Stormer operates across the country. In his

articles published on The Daily Stormer’s website, Defendant Ray encouraged extremists to

attend the events in Charlottesville over the weekend of August 12, 2017 and incited them to

violence. Defendant Ray attended the “rally” himself and had a planning meeting with certain

other Defendants in Charlottesville on August 11.

        26.    At all relevant times, Defendant Matthew Heimbach (“Heimbach)” was a racist,

violent, and hateful person who conspired with other Defendants in this complaint to incite

violence in the City of Charlottesville, Virginia on August 12, 2017, in furtherance of a violent,

criminal, and terroristic conspiracy. Heimbach has a history of racism, violence, and inciting

violence (including an incident that occurred on March 1, 2016 at another rally) all in promotion

of a racist, separatist, and violent message and vision for society. He assisted in organizing and

promoting the Unite the Right rally which occurred in Charlottesville, Virginia on August 11-12,

2017 and which resulted in Plaintiff’s injuries; and conspired to and did incite violence in the

City of Charlottesville on August 12, 2017. Heimbach is a leader of the Traditionalist Worker



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Party (“TWP”), a white nationalist organization with at least two chapters in Ohio, and also a

leader of the Nationalist Front. Heimbach co-chairs the Nationalist Front, an umbrella

organization of approximately twenty white supremacist organizations, including racist skinhead

crews, Klan groups, and neo-Nazi groups. In 2013, Heimbach and Defendant Matthew Parrott

founded the neo-Nazi Traditionalist Youth Network, a white nationalist group that promotes a

racist interpretation of Christianity. Heimbach has been quoted as saying, “Of course we look up

to men like Adolf Hitler . . . as inspirations for what we can achieve.” At all relevant times,

Heimbach was a resident of Hamilton County, Ohio and was acting as a member and agent of

Defendant TWP.

       27.     At all relevant times, Defendant The Traditionalist Worker Party was a racist,

violent, and hateful organization that sought to promote a racist society and white nationalist

state and that conspired to and did incite violence in Charlottesville, Virginia on August 12,

2017, in furtherance of a violent, criminal, and terroristic conspiracy. The Traditionalist Worker

Party conducts many of its activities in Ohio; it ran a candidate for city council in New Carlisle,

Ohio and is based out of Cincinnati, Ohio. Defendant Heimbach has claimed that Defendant

TWP has three dozen active chapters and an estimated 500 members across the United States.

Defendant TWP was created by Defendant Heimbach and others. Defendant TWP has said,

“Trust nobody who fails to name the Jew, who fails to explicitly and consistently oppose the

Jew, and who preaches cleverness or nuance on the JQ [Jewish Question].” Defendant TWP

helped organize and promote the Unite the Right rally which occurred in Charlottesville on

August 11-12, 2017; and conspired to and did incite violence in the City of Charlottesville on

August 12, 2017, which caused Plaintiff’s serious injuries.




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       28.     At all relevant times, Defendant Jason Kessler (“Kessler”) was a resident of

Charlottesville, Virginia and was a racist, violent, and hateful person who conspired with other

defendants in this complaint to incite violence in the City of Charlottesville, Virginia on August

12, 2017, in furtherance of a violent, criminal, and terroristic conspiracy. Defendant Kessler is a

member of Defendant Proud Boys and Defendant Vanguard America. Defendant Kessler has a

history of racism and violence and in furtherance of his vision for a racist and violent society he

organized the Unite the Right rally which occurred in Charlottesville on August 11-12, 2017 and

which caused Plaintiff’s injuries. Kessler uses the handle “MadDimension” on Discord and

@TheMadDimension on Twitter, and, together with Defendant Mosley, led the organizing

efforts for the Unite the Right “rally” in Charlottesville. Kessler is also the president and founder

of Unity and Security for America, a grassroots organization that claims it is dedicated to

“defending Western civilization” and is a contributor to websites like VDare.com, a xenophobic,

nativist publication, and the Daily Caller, a conservative news outlet. Kessler was the lead

organizer for the Unite the Right “rally” and was one of the names featured on a promotional

poster for the “rally.” In January 2017, Defendant Kessler attacked a man in downtown

Charlottesville while collecting signatures for his petition to remove the African-American vice

mayor, Wes Bellamy, from the Charlottesville City Council. In April, Kessler pleaded guilty to a

misdemeanor charge and was then charged with felony perjury for lying to the police in

connection with the assault. At all relevant times Jason Kessler was acting as a member and

agent of Defendant Proud Boys and Defendant Vanguard America.

       29.     At all relevant times, Defendant Proud Boys was a racist, violent, and hateful

organization that promotes a violent, white supremacist ideology. Defendant Kessler is an active

member of Proud Boys and was acting as an agent of the organization at all times relevant to this



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Complaint. In order to advance within the Proud Boys group, members must violently attack

counter-protestors. Defendant Proud Boys has formed its own violent, paramilitary division of

their organization called the “Fraternal Order of Alt-Knights” and helped organize and promote

the Unite the Right rally which occurred in Charlottesville on August 11-12, 2017; and conspired

to and did incite violence in the City of Charlottesville on August 12, 2017, in furtherance of a

violent, criminal, and terroristic conspiracy, which caused Plaintiff’s injuries.

       30.     At all relevant times, Defendant Richard Spencer (“Spencer”) was a resident of

Virginia and was a racist, violent, and hateful person who conspired with other defendants in this

complaint to incite violence in the City of Charlottesville, Virginia on August 12, 2017, in

furtherance of a violent, criminal, and terroristic conspiracy. Spencer has a history of racism and

violence in the furtherance of his vision for a racist and violent society. Defendant Spencer is the

head of the white nationalist “think tank,” National Policy Institute. In 2010, Spencer created an

online publication called AltRight.com. Spencer organizes his followers to act in accordance and

furtherance of his ideology which calls for “ethnic cleansing.” Spencer planned and led the

violent torchlight rally at his alma mater on August 11, 2017. Spencer actively promoted the

Unite the Right rally to his numerous followers on social media and encouraged and incited

intimidation and violence based on racial, religious, and ethnic animosity. At all relevant times,

Defendant Spencer was acting as a member and agent of Defendant National Policy Institute.

       31.     At all relevant times, Defendant National Policy Institute was a racist and violent

organization, led by Defendant Spencer, which sought to promote a white nationalist state.

Defendant National Policy Institute helped organize and promote the Unite the Right rally which

occurred in Charlottesville over the weekend of August 12, 2017; and conspired to and did incite




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violence in Charlottesville on August 12, 2017, in furtherance of a violent, criminal, and

terroristic conspiracy.

       32.     At all relevant times, Defendant David Duke (“Duke”) was a racist, hateful and

violent person. He is the former Grand Wizard of the Ku Klux Klan and acts in furtherance of his

vision for a racist and violent society. Defendant Duke attended an in-person meeting on August

11 along with Defendant Ray and other co-conspirators, to plan and direct the unlawful acts of

violence, intimidation, and terrorism that took place over the weekend of August 12. Defendant

Duke helped organize and promote the Unite the Right rally which occurred in Charlottesville on

August 11-12, 2017; and conspired to and did incite violence in the City of Charlottesville on

August 12, 2017, in furtherance of a violent, criminal, and terroristic conspiracy, which caused

Plaintiff Burke’s severe injuries.

       33.     At all relevant times, Defendant Nationalist Front was a racist and violent

umbrella organization consisting of neo-Nazi, fascist groups, and the Ku Klux Klan, whose

members voluntarily joined for the common purpose of promoting white nationalism and white

supremacy. Formerly known as the Aryan National Alliance, Nationalist Front is an umbrella

organization consisting of white supremacist and white nationalist groups, including neo-Nazi

and Klan groups. Defendant Nationalist Front is led by Defendant Heimbach and other co-

conspirators. The Nationalist Front was conceived to be “the thread that would unite white

supremacist and white nationalist circles.” Various members of the Nationalist Front engaged in

acts of violence and intimidated residents of Charlottesville on August 11 and 12. Defendant

National Front helped organize and promote the Unite the Right rally which occurred in

Charlottesville on August 11-12, 2017; and conspired to and did incite violence in the City of




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Charlottesville on August 12, 2017, in furtherance of a violent, criminal, and terroristic

conspiracy, which caused Plaintiff Burke’s severe injuries.

       34.     At all relevant times, Defendant Augustus Sol Invictus (“Invictus”), formerly

Austin Mitchell Gillespie was a resident of Florida and was a racist, hateful and violent person

and is the founder of the Fraternal Order of Alt-Knights, the “military wing” of Defendant Proud

Boys’ organization created to violently attack counter-protestors. He has said that a violent,

second Civil War is necessary in order to preserve “Western civilization.” On August 14, 2017

Invictus announced his candidacy as a Republican for the 2018 Senate election in Florida.

Invictus, whose names was featured on promotional posters for the “rally,” drafted the

“Charlottesville statement” along with Defendant Spencer and others, then participated in the

torch-lit rally on August 11 with co-Defendants. In furtherance of his vision for a racist and

violent society he helped organize and promote the Unite the Right rally which occurred in

Charlottesville on August 11-12, 2017; and conspired to and did incite violence in Charlottesville

on August 12, 2017, in furtherance of a violent, criminal, and terroristic conspiracy, which

ultimately caused Plaintiff Burke’s serious injuries. At all relevant times, Defendant Invictus was

acting as a member and agent of Defendant Proud Boys.

       35.     At all relevant times, the Honorable Sacred Knights was a hate-filled paramilitary

organization, a KKK chapter that claims members in Ohio, Kentucky, and Indiana. The

Honorable Sacred Knights participated in the planning and design of the Charlottesville attacks

and has since contacted Plaintiff directly by text message to threaten, harass, and intimidate

Plaintiff. Plaintiff Burke petitions this Court to enter a civil protective order against the

Honorable Sacred Knights.

                                               FACTS



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       36.      White supremacist and white nationalist groups have organized, supported, and

committed violent acts to achieve their political, ideological, religious, social, and societal goals

for many decades.

       37.      As noted by the Combating Terrorism Center at West Point, the far right white

supremacy groups "are interested in preserving or restoring what they perceive as the appropriate

and natural racial and cultural hierarchy, by enforcing social and political control over non-

Aryans/nonwhites such as African Americans, Jews, and various immigrant communities."

       38.      In line with the ideology, the great majority of violent attacks perpetrated by the

racist groups are aimed against individuals or groups affiliated with a specific minority ethnic

group and those groups or individuals supportive of equal rights.

       39.      In a November 2012 report, the Combating Terrorism Center at West Point noted

that with respect to America’s violent far-right, white supremacist, and white nationalist

movements:

       Findings indicate that contentious and conservative political environments as well as the
       political empowerment are positively associated with the volume of violence; thus, it is
       not only feelings of deprivation that motivate those involved in far right violence, but
       also the sense of empowerment that emerges when the political system is perceived to be
       increasingly permissive to far right ideas.


       40.      Fatalities resulting from attacks by far-right wing violent extremists have far

exceeded those caused by radical, violent Islamist extremists since September 11, 2001.

       41.      According to data from the U.S. Extremist Crime Database (ECDB) there have

been 85 attacks in the United States by violent extremists since September 11, 2001 resulting in

225 fatalities. Of these, 106 were killed by far-right violent extremists in 62 separate incidents

(73 percent).




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Defendants Targeted Charlottesville as a Site for Intimidation, Harassment, and Terrorism in
              the Months Prior to August 12, 2017 (the “Summer of Hate”)

       42.     Prior to the events in Charlottesville over the weekend of August 12, 2017,

Defendant Andrew Anglin made his intentions for Defendants’ presence in Charlottesville clear

and known, “When the Jews took over our society and turned it into a kiked-out living hell, they

marked their achievement by declaring a ‘Summer of Love.’ . . . They took everything away

from us. That age is ending now. We are taking back our birthright. This summer, a Black Sun

will pass over America. . . . I am declaring the summer of 2017 the Summer of Hate.”

       43.     Defendants planned and plotted to target Charlottesville, Virginia as part of this

“Summer of Hate.”

       44.     Defendants selected Charlottesville because, among other things, the City was

engulfed at the time in a debate over the statue of General Robert E. Lee in a small city park. In

February 2017, the Charlottesville City Council voted to remove the Lee statue and, in June

2017, it voted to rename the park in which it stood from Lee Park to Emancipation Park.

       45.     Defendants used the removal of the Robert E. Lee statue as a rallying cry for their

followers, seeking to preserve its place in the park, and use the debate about the statue as a

means to stir up violence and harass, threaten, and intimidate the residents of Charlottesville,

Virginia.

       46.     For example, Defendants Kessler and Richard Spencer invited white supremacist

groups to visit and hold events around the Robert E. Lee statue with the intent of intimidating

non-white individuals, religious minorities, and their allies.

       47.     On May 13, 2017, hundreds of neo-Nazis and white supremacists carried lit

torches and surrounded the statue of Robert E. Lee, in an event organized and planned by, among




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others, Defendants Kessler, Spencer, Heimbach, Vanguard America, and TWP. Defendants and

participants carried signs reading “we will not be replaced.” They chanted “you will not replace

us” and “blood and soil.” “Blood and soil” is a translation of “Blut und Boden,” a German

nationalist philosophy that lay at the heart of Nazi policies and ideology. The slogan expresses

the idealization of a racially defined national body (“blood”) unified with a settlement area

(“soil”). It was inextricably linked with the contemporary German idea of Lebensraum—the

belief that the German people need to reclaim historically German areas of Eastern Europe into

which they could expand—which was the driving ideology behind Hitler’s invasion of

neighboring countries and the mass murder and genocide of their citizens.

       48.      The May 13 event was planned and intended to intimidate, threaten, and harass

Charlottesville residents on the basis of race, religion, and ethnicity. Defendant Kessler said he

hoped that the May event would be a “fantastic first event” in a “cultural ‘civil war.’”

Defendants’ avowed goal was to promote and create an atmosphere of religious and racial

subordination on the streets of Charlottesville, ideally through the infliction of violence or

emotional distress on Charlottesville residents, non-white people, religious minorities, and

supporters of equality like Plaintiff Burke.

       49.      At a lunch before the event, Spencer—sharing a podium with Defendant

Kessler—explained: “What brings us together is that we are white, we are a people. We will not

be replaced.”

       50.      Defendants acknowledged the success of their careful, deliberate, and months-

long planning. The Daily Stormer’s website reported that “[t]he 200+ honorable whites marched

to the base of the statue as they carried torches reminiscent of the 3rd Reich.”




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       51.     This May, 2017 event would later be referred to by conspirators as

“Charlottesville 1.0."

       52.     Capitalizing on the perceived success of the May, 2017 event, and motivated by

the same desire to achieve racial and religious subordination of city residents, Defendants began

planning for additional events in Charlottesville. On May 30, Kessler submitted an application

for a permit to hold the Unite the Right “rally” on the weekend of August 11 and 12.

       53.     In June, Kessler invited Defendants and others to come to Charlottesville for a

“Proud Boys” event, which was designed to promote violence and intimidate minority residents

in advance of the Unite the Right "rally." As one of the Proud Boys in attendance noted, the

group wanted to bait protestors because “a lot of us kinda like to see them bleed.” Another

Proud Boy reminded others: “This of course is just the beginning. There are also bigger events

planned for . . . Charlottesville on August 12.”

       54.     On July 8, 2017, a third white supremacist event was held in Charlottesville, this

time by the Loyal White Knights. Nearly fifty Klansmen marched through the streets shouting

“white power,” and carrying signs that read: “Jews are Satan’s children.” Some wore white Klan

robes, and many carried guns.

       55.     Kessler attended and live-streamed the Klan march organized by the Loyal White

Knights, a Ku Klux Klan organization, on Twitter. He shared a tweet with his followers:

“#UniteTheRight against these shitlibs in Charlottesville on August 12th is going to be so much

fun. You’ve got a month to be there.”

  Defendants Planned and Coordinated a Scheme to Incite Violence, Threaten, Intimidate,
 Harass, and Terrorize Charlottesville Residents under the Guise of the Unite the Right Rally




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       56.     Defendants and their co-conspirators conspired to incite violence and to threaten,

intimidate, harass, and terrorize the civilian population of Charlottesville, in particular,

individuals of a racial, ethnic, or religious minority, and to commit other unlawful acts as

described herein. For weeks, Defendants acted on the basis of racial, religious, and/or ethnic

animus, and with the intention to deny non-white people and religious minorities, as well as

people promoting equal rights and protection for non-white people and religious minorities, their

equal protection and other rights that they are guaranteed under state and federal law.

       57.     The application for the permit for the Unite the Right rally and event submitted by

Defendant Kessler claimed that the event would be a protest of the removal of the Robert E. Lee

monument, but Defendants also intended that the rally would instill fear in, and terrorize

Charlottesville’s minority population (as well as the wider audience watching the event

throughout the country) and incite violence. They wanted to use the events of the weekend to

intimidate the broader civilian population and recruit more followers to Defendants’ various

hateful and violent groups and causes.

       58.     An article by Defendants Andrew Anglin and Ray published on Defendant Daily

Stormer’s website on August 8 explained that the purpose of the “rally” had shifted from being

“in support of the Lee Monument, which the Jew Mayor and his Negroid Deputy have marked

for destruction” to “something much bigger than that . . . . It is now an historic rally, which will

serve as a rallying point and battle cry for the rising Alt-Right movement.”

       59.     Defendants Fields, Andrew Anglin, Greg Anglin, Ray, Heimbach, Kessler,

Spencer, Duke, Invictus, John Doe 1-1000, and Jane Doe 1-1000, on behalf of themselves and

the groups to which they belong, and Defendants Vanguard America, The Traditionalist Worker

Party, Proud Boys, National Policy Institute, Nationalist Front, along with Defendant Daily



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Stormer (Moonbase Holdings, LLC), Morning Star Ministries, Inc., and Anglin & Anglin LLC,

through their leadership and members, all agreed and coordinated with and among each other to

plan, organize, promote, and commit the unlawful, conspiratorial, and terroristic acts that

severely injured Plaintiff Burke, killed Heather Heyer, and injured countless others in

Charlottesville on August 12, 2017. They also coordinated with numerous unnamed and named

co-conspirators, in furtherance of a violent, criminal, and terroristic conspiracy.

        60.    Defendant Spencer and co-conspirators met in person at the Trump Hotel in

Washington, D.C. to organize and direct the “rally” in Charlottesville. Defendant Kessler and

other co-conspirators met in Charlottesville on August 9 to plan and direct the unlawful acts of

violence, intimidation, and denial of equal protection of law in furtherance of a violent, criminal,

and terroristic conspiracy. Defendants Ray and Defendant David Duke attended another in-

person meeting on August 11 to plan and direct the unlawful acts of violence, intimidation, and

the denial of equal protection of law. Defendants Nationalist Front, Vanguard America, and

“other allies,” coordinated their attendance as a “joint operation” in advance of August 12 to

plan, direct, and prepare for unlawful acts of violence, intimidation, harassment, terrorism, and

denial of equal protection to Charlottesville citizens in furtherance of a violent, criminal, and

terroristic conspiracy.

        61.    Defendants also frequently coordinate the illegal acts planned for the Unite the

Right rally and event online. They used websites, social media (such as Twitter, Facebook,

4chan, and 8an), chatrooms, radio, videos, and podcasts to communicate with each other, and

with their co-conspirators, followers and other attendees and did so to plan the intended acts of

violence, intimidation, terrorism, and the denial to American citizens of the equal protection of

laws.



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       62.     For years, Defendants and others unnamed have used the Internet to, in Defendant

Andrew Anglin’s terms, “solidify a stable and self-sustaining counter-culture.” Use of the

Internet is part of the manner, ways, and means of how Defendants’ conspiracy operated and

operates.

       63.     Defendants and co-conspirators coordinated by posting articles on their own

websites, and by using social media to send and share messages for the “rally” and to encourage

attendance and the commission of illegal acts. They interviewed one another about the plans for

the “rally,” and shared those messages on podcasts or other video-streaming services. They

agreed to mobilize their respective members and followers to attend and to be violent and

suppress the equal rights of Charlottesville citizens.

       64.     Defendants used the internet chat platform Discord extensively to plan and direct

the illegal and terroristic acts that took place in Charlottesville on August 12, 2017. Originally

developed as a messaging platform for group “game play,” Discord is set up as a series of

private, invite-only servers, each providing a space for real-time group discussion. Each server is

organized into “channels,” indicated by a “#” before the name. Participants in the chat use

“handles” or nicknames to identify themselves. Participants can request to be “tagged” as a

member of a group.

       65.     A "Charlottesville 2.0" server was established on Discord in June 2017

(hereinafter, “Discord”). This server was used to direct and plan unlawful acts of violence,

intimidation, and denial of equal protection of law at the Unite the Right "rally." One user

explained that Discord was “for closed, top super-secret communications intended for the elite

inner circle of the alt-right.” Defendants used Discord as a tool to promote, coordinate, and

organize the Unite the Right “rally,” and as a means to communicate and coordinate violent and



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illegal activities “in secret” during the actual events of that weekend, in furtherance of a violent,

criminal, and terroristic conspiracy.

       66.     Discord was moderated, reviewed, directed, and managed by Defendant Kessler

and other co-conspirators. As moderators of the group, they were able to view all of the posts,

invite or reject participants, and delete messages they did not condone. The group was “invite

only” and not open to the public.

       67.     Individual Defendants, including Heimbach and Ray, were all participants on

Discord, and participated in the direction, planning, and inciting of unlawful and violent acts

through Discord.

       68.     These Defendants and their co-conspirators used Discord for regular “leadership”

meetings through which they shared information and plans. Defendants also used Discord to

distribute what they called “Orders” to co-conspirators and attendees. One document posted was

entitled “General Orders” for “Operation Unite the Right Charlottesville 2.0.”

       69.     There were at least 43 channels set up on Discord as a means of sharing specific

information. Those channels included:

       #announcements                          #news                          #ma_ct_ri
       #dixie-lyrics                           #safety_planning               #vt_nh_me
       #mod_help                               #alex_jones_chat               #great_lakes_region
       #confirmed_participants                 #pictures_and_video            #midwest_region
       #shuttle_service_information            #beltway_bigots                #ky_tn
       #code_of_conduct                        #voice_chat                    #tx_ok
       #self_promotion                         #friday-night                  #florida
       #flags_banners_signs                    #sunday-night                  #georgia
       #promotion_and_cyberstrike              #chants-                       #carolinas
       #gear_and_attire                        #virginia_laws                #california_pacific_nw
       #antifa_watch                           #lodging                       #carpool_available
       #demonstration_tactics                  #lodging_wanted                #ny_nj
       #sponsors_only                          #loding_available              #pennsylvania
       #i_need_a_sponsor                       #carpool_wanted                #da_va_md




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       70.     They also had a channel called #questions_for_coordinators, where participants

could ask questions of the organizers, who were several of the Defendants in this Complaint.

       71.     With the permission of a moderator, individuals could be “tagged” as members of

certain organizations. Defendants Vanguard America, TWP, and The Daily Stormer (including

its “book club” chapters), all had channels on Discord that allowed their tagged members to

participate in private group communications in advance of the “rally.”

       72.     Defendants enlisted other co-conspirators to coordinate and organize the “rally,”

through Discord and other means. For example, one individual, using the Discord handle

“Tyrone” (hereinafter Tyrone), agreed with Kessler that he would coordinate transportation for

attendees on August 12. Others were tasked with helping Kessler moderate the Discord server.

Another individual, using the Discord handle “Caerulus Rex,” was the coordinator between

various “security details” that were established by Defendants and their co-conspirators.

       73.     Promotional materials, often promoting and inciting violence, were added to

Discord in order to be shared and utilized more broadly.

       74.     Defendants also used Discord to coordinate how they would communicate on

other social media. For example, they told followers to use #UniteTheRight and #Charlottesville

on Twitter, so that they and their followers could closely communicate during the weekend of the

“rally.” They shared that hashtag through Discord.

       75.     Defendants Andrew Anglin and Ray likewise established “meet ups” and chat

rooms through Defendant Daily Stormer’s website that co-conspirators and attendees were told

to use throughout the weekend to coordinate their actions.

       76.     A “Charlottesville Statement” was distributed by Defendant Spencer, setting out

the philosophy and ideology underlying the “rally.” He was aided in drafting his manifesto by



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Defendant Invictus and others. Among other things, the Charlottesville Statement holds that

“‘Judeo-Christian values’ might be a quaint political slogan, but it is a distortion of the historical

and metaphysical reality of both Jews and Europeans” and that “Nations must secure their

existence and uniqueness and promote their own development and flourishing. . . . Racially or

ethnically defined states are legitimate and necessary.”

 Defendants Promoted Attendance, Violence, and Imagery Designed to Threaten, Intimidate,
                          Harass, and Ultimately to Terrorize

        77.     Defendant Andrew Anglin, through his operations, Defendants The Daily Stormer

and Moonbase Holdings, LLC, told followers: “We are angry . . . There is a [sic] atavistic rage in

us, deep in us, that is ready to boil over. There is a craving to return to an age of violence. We

want a war.” He advised followers that “the hardcore message is what sells” and told them to

“[b]e ready to fight for [the fight].”

        78.     Defender Spencer, through his operation on AltRight.com, published one article

which said of the upcoming August “rally”: “Our ideas dominate the internet . . . Now it’s time

to dominate the streets. . . . You might think it’s just a rally, but really, it’s so much more . . . .

We are telling the anti-White establishment and it’s [sic] attack dogs that we are not going to

give another inch . . . And now we have come to the tipping point.”

        79.     Defendant Ray exhorted: “We are stepping off the Internet in a big way. . . . We

have been organizing on the Internet. And so now they are coming out. We have greatly

outnumbered the anti-white, anti-American filth. At some point we will have enough power that

we will clear them from the streets forever . . . you ain’t seen nothing yet.” In another interview,

Defendant Ray also stated that Defendants’ goal was to “stop” the “usurpation” of “our country

by a foreign tribe called the Jews.”




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       80.     In one promotion created by Defendant TWP and distributed on Discord, the

poster stated: “This is not an attack on your heritage this is an attack on your racial existence.

FIGHT BACK OR DIE.”

       81.     The Daily Stormer released its own poster, which was later shared by Defendant

Vanguard America:




       82.     Using Daily Stormer’s website, Andrew Anglin and Ray commanded the Daily

Stormer community to attend (“You must make it there!”). They told their members: “[w]e need

to do everything we can to get as many people to attend this rally as possible. . . . There is a

rising nationalist movement in American and it is not going away. Having thousands of

nationalists come out for this rally will put the fear of god into the hearts and minds of our

enemies.” A writer on Spencer’s website, altright.com, enthused that Daily Stormer was “going

to bring a lot of young new cadres to the rally,” including Identity Evropa.

       83.     Andrew Anglin also urged his followers: “We are now taking these [Stormer

Book Clubs] to the next level . . . We are going to have challenges (which will include getting

you in fit and fighting shape and learning useful masculine skills) . . . . We are going to build an




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invisible empire. This has all been worked out in my mind a long time ago, and this summer, the

Summer of the Black Sun, is when we are going to bring it all together.”

       84.     Another co-conspirator on Discord posted an image of a raised fist holding a

dagger by its blade, dripping blood, over the words “FIGHT UNTIL THE LAST DROP.”




       85.     Defendants' intention to engage in violence, to ensure that others engaged in

violence, and to orchestrate and direct that violence against racial and religious minorities was

open and explicit. For example, a member of Vanguard America blithely asked on Discord,

“When can we gas the reprobates. . .” Tyrone, a co-conspirator, wrote: “Most efficient is how

you get six million Jews in a Cadillac. 3 in the front 3 in the rear 5,999,994 in the ash tray.”

       86.     On Discord, moderated and controlled by Defendant Kessler, there were countless

exhortations to violence, including:

                   •   “I’m ready to crack skulls.”

                   •   “If you don’t have a flame thrower you’re wrong,”

                   •   “It’s going to get wild. Bring your boots.”

                   •   “Studies show 999/1000 niggers and feminists fuck right off when faced
                       with pepper spray.”

                   •   “Bringing women to a protest/rally where we expect violence is fucking
                       retarded . . . even if you aren’t expecting violence you should prepare for
                       it.”



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                   •   “Let there be no mistake – these two side have irreconciable [sic]
                       differences that will never reach compromise – the only question is the
                       level of conflict to decide the victor.”

                   •   “You have a week, bros. Best spend it having four or five of your friends
                       simulate jumping you. Go light, don’t get injured before the event, and
                       focus on blocking and pushing back in ways that don’t look like assault.”

                   •   “Let’s make this channel great again. The Carolinas (kind of) started the
                       Revolutionary War and the Civil, so why not add the Race War / Second
                       Civil War to the list?”

       87.     Defendants took no steps to prevent any violence. To the contrary, consistent with

their conspiracy to encourage and enable violence, Defendants and co-conspirators reinforced a

false narrative of a larger—necessarily violent—racial and religious war in which Unite the

Right events were a critical moment. This strategy was intended to—and foreseeably resulted in

violence directed at the racial and religious minorities.

       88.     Co-conspirators on Discord incited attendees to bring weapons and engage in

violence. This incitement was known to and promoted by Defendants.

       89.     Defendants expressly acknowledged that their false narrative of “self-defense”

was merely a pretext for violence. Tyrone, for example, had the following exchange on Discord:

               Tyrone: “What if we are sociopathic and want [antifa] to show up, for . . . self-
               defense purposes?”

               Americana – MD: If you’re concerned about antifa showing up and being violent
               I present you 2 valid options. 1. Don’t attend [emoji of a woman] or 2. Be better
               at violence than they are.

               Tyrone: It’s not just about you (collective you not personal) violence like this is a
               team game.

               Tyrone (delete 1 extra space) told others: “The best defense is a good offense, my
grandpappy taught me.”




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        90.     One Discord participant told people to “purchase self defense insurance,” while

another quipped that the ability to make out a self-defense claim “[d]epends how much of a jew

your lawyer is.”

        91.     Using Discord and other mediums, Defendants gave orders to each other, co-

conspirators, and followers in advance of the Unite the Right weekend, including what weapons

to bring, what protective armor to wear, and instructions for uniforms. In particular, they advised

other participants to bring firearms or improvised weapons. They engaged in these acts with the

intention that they and their co-conspirators would in fact engage in violence and harassment

against racial and religious minorities and threaten the broader Charlottesville population.

        92.     Defendants and co-conspirators posted photos of themselves posing with

automatic weapons and tactical gear, and boasted about the weapons they were bringing. Tyrone,

for example, bragged that he would be bringing “Mosin-Nagants with bayonets attached,”

referring to military rifles used by Russian and Soviet armed forces, which “will shoot clean

through a crowd at least four deep.”

        93.     One co-conspirator on Discord posted a fake advertisement for a product that

looked like pepper spray called “Nig-Away”—“a no-fuss, no-muss ‘nigger-killer,’” promised to

“kill[] on contact . . . dissolv[ing] all tissue, leav[ing] only bone matter” in order to “rid the area

of niggers.” He commented beneath the photo, “stock up now.”




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       94.     Discord was rife with discussions by co-conspirators of weapons and the use of

everyday objects to inflict harm:

                   •   “I’m conceal carrying.”

                   •   “[A] real man knows how to make a shield a deadly weapon”

                   •   “K]nives and guns are more legal than blunt weapons or batons, but its
                       [sic] better to only carry what would only be perceived as a defensive tool.
                       I figure knives would cause the police more alarm over a can of pepper
                       spray or a rugged and abrasive shield.”

                   •   “G]et standard OC spray. I personally use Fox Labs.”

                   •   “[R]emember that newspapers can be your greatest ally / toss a few
                       pennies in there, roll it up and fold it and bam.”

                   •   “[A]void batons . . . just get hardwood dowel (that fits in your hand) from
                       a store and cut it to size.”

                   •   “If you get PVC get schedule 80 for thicker thumping.”

                   •   “Don’t carry anything that’s explicitly a weapon. Flag poles and signs
                       work, but openly carrying obvious weaponry is probably not a good idea.”

                   •   “A wrench with a wrist lanyard gets the same job [as a
                       blackjack/billyclub] accomplished.”




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                   •   “Just carry a pocket full of rocks. They can be in a sock or something.”

          95.   One co-conspirator on Discord posted a link to his store, Resistance Tools, along

with a coupon code (UNITETHERIGHT2017), and wrote “FOR PEOPLE NOT CONCEALED

CARRYING IN C’VILLE: I sell stun guns, tasers, pepper spray, batons, and other self-defense

stuff.”

          96.   Defendants Ray and Andrew Anglin (supported by Greg Anglin) issued

directives using Defendant Daily Stormer’s website in advance of the Unite the Right

weekend. In articles titled “Operational Security for Right Wing Rallies” and “Charlottesville:

Why You Must Attend and What to Bring and Not to Bring!” “Stormers” were told that they

were required to bring tiki torches and should also bring pepper spray, flag poles, flags, and

shields.

          97.   Defendants and co-conspirators provided guidance and instructions to co-

conspirators and participants about how to try to avoid the legal ramifications of their violence.

For example, they set up a channel on Discord devoted to understanding Virginia Law, where

one co-conspirator suggested that rallygoers buy self-defense insurance.

          98.   Defendants also assured co-conspirators that they would be protected when

they engaged in violent acts intended, incited, strategized, and encouraged by Defendants.

The “General Orders” told attendees that if they found themselves arrested, there would be

“money and a legal team set aside for you after.” Spencer put out a call for Attorneys on his

website, AltRight.com.

          99.   Defendant Daily Stormer advised and instructed Unite the Right rally attendees,

“[I]f you end up in some heavy stuff and are not yet charged with anything, use your moments of

freedom to get really difficult to find. Do not wait around for bad processes to begin against you.


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Exit from any risky situation as quickly as you can. If you make yourself easy to serve with legal

process, legal process will be likely be served to you.”

       100.    Defendants and co-conspirators told each other to bring shields, uniforms, flags,

and signs decorated with iconography that would instill fear along racial and religious lines,

while also identifying rallygoers with the hate groups to which they belong. The Texas and

Louisiana chapters of Vanguard America, for example, planned to have shields with their logos

painted on.

       101.    Defendants also discussed and intended for followers to come with paraphernalia

bearing racist and anti-Semitic imagery. Defendant Kessler, for example, explained: “The

Confederate flag is THE BEST optics because it’s beloved by legions of Southerners who are on

the doorstep of becoming just like us if we can move them beyond ‘heritage not hate.’”

       102.    The “official” poster for the event contained Nazi and confederate iconography,

including imperial eagles reminiscent of Nazi Germany’s national emblem, confederate flags and

monuments, confederate soldiers in formation.




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  Defendants Engaged in a Conspiracy to Intentionally Commit Terroristic Violence Against
                          Counter-Protestors on August 12, 2017
       103. On August 12, Defendants, their co-conspirators, and others acting at their

direction executed their plan to carry out racial, religious, and ethnic violence, intimidation, and

harassment, in furtherance of a violent, criminal, and terroristic conspiracy. Defendants Kessler,

Heimbach, Invictus, Ray, Spencer, Fields, the Nationalist Front, TWP, Vanguard, and hundreds

of Stormers (many of them from Stormer Book Clubs) all participated in the violent events of the

day together with co-conspirators including Duke and the Proud Boys.

       104.    Defendants and co-conspirators planned to arrive early and anticipated and

encouraged the use of violence to assist the rally. As one co-conspirator explained: “Me, the rest

of TWP and LS [League of the South] have been to more than one rodeo. / And shit NSM will be

there early too / Those guys are nuts / In a good way.” Kessler promised that there would be

hundreds of members of TWP and League of the South at the park as early as 8:00 a.m.


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         105.   Defendant Kessler and co-conspirators exhorted rallygoers to arrive before the

park opened to form “a white bloc barrier or square around the entire statue + podium . . . . given

that they know we’re coming, we’ll all need as many people as possible to be there right when

the park opens.”

         106.   Defendant Kessler told Discord participants: “EVERYONE needs to get to the

park as early as possible and defend our territory.” He suggested that camping out at the

monument the night before would give them “[t]he most extremely prepared position.” In these

remarks, Kessler referred to (and actively encouraged) preparation for violence against racial and

religious minorities and anyone who supported their cause.

         107.   A co-conspirator asked the Discord group: “So are we going to occupy very

early? Or try and force this commie scum out after the fact? I’m good with either.” Another

participant responded, “We will be fine as long as we have bodies there and willing to remove

whoever is in our way. Vanguard is fabricating 20 additional shields. We should have a good

amount between organizations. We just need to make sure we have bodies there ready to rock.”

         108.   Consistent with the conspiracy’s effort to organize and maximize violent acts, a

co-conspirator and moderator on Discord told participants that “we’ll be putting out a video for

basic formation, roles, and commands to all of the group leaders shortly” and “posted a “Shields

& Shield Tactics Primer” made by the “Detroit Right Wings,” as well as a video illustrating

shield fighting techniques, to be studied by participants. Eli Mosley, a direct co-conspirator with

Defendants, said: “I run this [the Unite the Right “rally”] as a military operation . . . I was in the

army.”




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          109.   Defendants took no steps to prevent, or aid in preventing, the intimidating,

threatening, terroristic and otherwise illegal conduct they knew was being planned and

coordinated.

 The Events on August 12 that Caused Plaintiff Burke’s Serious Injuries Were Intentionally
                   Violent In Accordance with Defendants’ Planning

          110.   Most of the Defendant groups arrived in military formations, armed like

paramilitary forces—carrying, among other things, guns, shields, protective gear, flags, and rods.

They shouted commands at their groups to “move forward” or “retreat.” Governor Terry

McAuliffe stated that “80 percent of the people here had semiautomatic weapons . . . you saw the

militia walking down the street, you would have thought they were an army.”

          111.   Members of Defendant Nationalist Front, TWP, and Vanguard America met at a

pre-set location in order to march to Emancipation Park in formation.

          112.   Vanguard America, the group of which Defendant Fields was a member, marched

to the Park first, chanting “Blood and soil!” Members of the group were dressed in helmets,

white or black polos, and khakis, and wielded matching shields and flags. Defendant Fields (who

was wearing the uniform white polo, khakis and carrying a black shield with the Vanguard logo)

marched with Vanguard America.

          113.   As the Nationalist Front groups and other Defendants and co-conspirators

marched towards Emancipation Park, they shouted threatening, harassing, and intimidating

language at Charlottesville residents and protesters on the basis of their race, religion, and

ethnicity or support for people of different races, religions and ethnicities. These included

statements like, “Get the fuck out of our country, bitches! Yeah, come up to me! Come up to me,

bitch!”




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       114.    Defendants and Defendants’ co-conspirators continued to intentionally spread

intimidation and terroristic violence even after authorities declared the rally to be an unlawful

assembly.

       115.    By 11:22 am, before the permit for the “rally” even began, Charlottesville

officials declared the gathering in Emancipation Park an unlawful assembly, defined under

Virginia law as “whenever three or more persons assembled share the common intent to advance

some lawful or unlawful purpose by the commission of an act or acts of unlawful force or

violence likely to jeopardize seriously public safety, peace, or order.”

       116.    At 11:28 am, Governor McAuliffe declared a state of emergency, stating: “It is

now clear that public safety cannot be safeguarded without additional powers, and that the

mostly out-of-state protestors have come to Virginia to endanger our citizens and property. I am

disgusted by the hatred, bigotry and violence these protestors have brought to our state over the

past 24 hours.”

       117.    Defendant Daily Stormer encouraged its followers to go to McIntire Park and

assemble “behind” Defendant Ray and other co-conspirators, and incited violence by the crowd:




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       118.    By 1:00 pm, Defendant Spencer, other co-conspirators, and their followers, had

reassembled in McIntire Park. Violence again broke out. One woman protesting Defendants’

message was choked by co-conspirator, Steven Balcaitis, who was wearing a t-shirt advertising a

white nationalist and anti-Semitic website, Red Ice. As he grabbed her neck, he looked at a

bystander and said, “Don’t save her.”

       119.    A few minutes after 1:00 p.m., Defendant Daily Stormer posted:




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       120.    Defendants took no steps to prevent, or aid in preventing, the violent actions that

they knew was being planned.

    Defendant Field’s Intentional Murder and Attempted Murder of Innocent Bystanders

       121.    “Run Them Over” is a popular anti-Black Lives Matter and anti-racial justice

protest catchphrase and shows up in memes and comments across the Internet. In late January

2017, Fox Nation, the opinion website operated by Fox News, tweeted out a “Reel Of Cars

Plowing Through Protestors Trying To Block The Road.” The author of the video piece, which

originally appeared on the Daily Caller, wrote: “Here’s a compilation of liberal protesters getting

pushed out of the way by cars and trucks” and “Study the technique; it may prove useful in the

next four years.” On Facebook, the author bragged about the popularity of the piece, boasting

that he “[m]ade a profit for the company today. Went from 400,000 to 2 million views in a 24

hour timespace #winning.”

       122.    The same trope was used as part of planning for the Unite the Right Rally. On

Discord, for example, in response to a post from Tyrone that if “something happens . . .

adjustments will have to be made to remove people from the scene,” co-conspirator

“AltCelt(IL)” responded with an image from a famous scene in the movie Dawn of the Dead, in

which the protagonists retrofit buses with chainsaws and barbed wire to escape a mall by running

over thousands of swarming zombies. AltCelt(IL) added a “crying laughing” emoji and wrote

“This will be us.”




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       123.    Tyrone replied with a picture of a John Deere tractor captioned, “Introducing John

Deere’s new multi-lane protestor digestor,” and commented, I”I Know NC law is on the books

that driving over protestors blocking roadway isn’t an offense… Sure would be nice.”




       124.    On the same day (July 17, 2017), Tyrone asked the #virginia_laws channel, “Is it

legal to run over protestors blocking roadways? I’m NOT just shitposting. I would like

clarification. I know it’s legal in NC and a few other states. I’m legitimately curious for the

answer.” Two participants reacted to this post with red heart emojis.




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       125.    Another co-conspirator on Discord, using the #virginia_laws channel, posted a

photo of an armored military tank and wrote: “Is this legal in VA?” Eleven participants

responded with emojis expressing approval.

       126.    Similarly, when Defendant Kessler asked the #demonstration_tactics channel for

advice on planning a march, one co-conspirator, “PrimitveXaoc,” encouraged the use of

sidewalks because “straight through the streets like they did a few weeks ago for the ‘community

defense’ March was awful (Antifa).” He posted several photos from that march and wrote:

“These fools had babies and children in the streets dragging banners over cars blocking their

view and such. Too bad the civilians didn’t just make new speed bumps for some of these scum.”

       127.    At approximately 1:42 p.m., motivated and encouraged by Defendants and their

conspiracy, Defendant Fields deliberately and maliciously accelerated and drove his Dodge

Challenger into a crowd of Charlottesville residents, peaceful, nonviolent counter-protestors, and

Plaintiff Burke in an attempt to murder and maim as many individuals as possible, in furtherance

of a violent, criminal, and terroristic conspiracy.

               Plaintiff Burke Suffered and Continues to Suffer Serious Injuries

       128.    As a result of the violent, criminal, and terroristic attack carried out by Defendant

Fields and organized by Defendants and co-conspirators, Plaintiff Burke sustained severe and

extensive physical, emotional, and psychological injury on August 12, 2017 and will be left with

long-term and permanent injury as a result of Defendant Fields’ terroristic car attack

       129.    Plaintiff Burke was rendered unconscious by the immediate impact of Defendant

Fields’ car attack. When he returned to consciousness several minutes later, a first-responder to

the scene of Defendant Fields’ attack instructed Plaintiff Burke that he needed to hold his head

together, as he had suffered a serious laceration and was bleeding profusely. Plaintiff Burke gave



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his cellphone, and passcode to unlock, to the first-responder in order for her to contact his wife

because he was unable to do so as a result of his injuries.

       130.    Plaintiff Burke’s physical injuries include injury to his left knee, the loss of

feeling in his left arm, a concussion, traumatic brain injury, and an eye that was swollen shut. His

treatment thus far has required, at least, an overnight stay in the hospital, a CT scan for his head,

a concussion scan, and up to two months of bedrest.

       131.    Heather Heyer, the victim who died as a result of Defendant Fields’ terroristic car

attack, collided with Plaintiff Burke during the accident and was located near Plaintiff Burke

when he returned to consciousness.

       132.    Plaintiff Burke has worked as an Emergency Medical Technician (EMT). Due to

his background as an EMT, Plaintiff was able to recognize Heather Heyer’s dire medical

condition and recognized her labored breathing as agonal respirations—the type of breathing

people experience before death. Plaintiff Burke witnessed Heather Heyer die from injuries she

suffered from Defendant Fields terroristic car attack on August 12, 2017.

       133.    Plaintiff Burke has suffered serious emotional and psychological trauma from

Defendant Fields’ attempt to kill him and others in furtherance of a violent, criminal, and

terroristic conspiracy, as well as from witnessing the death of Heather Heyer as a result of

Defendant Fields’ terroristic car attack. Plaintiff Burke’s cognitive functioning has been

permanently negatively affected as a result of his injuries and trauma.

       134.    Since the terroristic car attack on August 12, 2017, Plaintiff Burke, as well as his

friends and family, have been threatened and harassed by supporters of Defendants and their co-

conspirators. The harassment has included threatening text and social media messages sent from

anonymous phone numbers and/or accounts.



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       135.    Defendant Fields was found and arrested after the attack and charged with second

degree murder, three counts of malicious wounding, and failing to stop at an accident.

After the Fact, Defendants Celebrated the Success of Their Terroristic Plan to Incite Violence
       136.    As news about Defendant Fields’ car attack spread, Defendants celebrated what

they deemed was their “victory” and mocked the death of Heather Heyer and the injuries

sustained by other victims of Defendant Fields’ car attack, like Plaintiff Burke.

       137.    That evening, Defendant Andrew Anglin posted a message: “Roadkill Nights

Powered by Dodge. It’s going down Saturday Aug. 12th from 11am to 10 pm.”

       138.    Defendant Daily Stormer encouraged followers to find out the details of Heather

Heyer’s funeral and to attend. A tweet from Defendant Kessler’s account referred to Heather

Heyer as a communist and said: “Communists have killed 94 million. Looks like it was payback

time.” Defendant Kessler claimed he was on a mixture of prescription drugs and alcohol when he



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wrote that message and did not remember it; an agent of Defendant Daily Stormer claimed credit

for hacking Kessler’s account and posting the tweet.

       139.    Defendant Heimbach said of the rally: “We achieved all of our objectives. We

showed that our movement is not just online, but growing physically. We asserted ourselves as

the voice of white America. We had zero vehicles damaged, all our people accounted for, and

moved a large amount of men and materials in and out of the area. I think we did an incredibly

impressive job.”

       140.    White supremacists debriefed on Discord, celebrating that protesters “got btfo

[blown the fuck out] by all objective measures / only people who moved us a single inch were

the zog-cops” (‘zog’ is an anti-Semitic slur in Defendants’ circles).

       141.    Defendant Spencer told the New York Times that August 12 was “a huge moral

victory.”

  The Unlawful Acts By Defendants, Co-Conspirators and Others Acting at Their Direction
 Caused Serious Injury; Defendants Actions Will Continue to Cause Damage to Plaintiff and
                                         Others
      142. Defendants’ actions caused loss of life, serious bodily injury to Plaintiff Burke

and others, and extensive damage to property. The conspiratorial, violent, and terroristic plot

enacted by Defendants in Charlottesville on August 11 and 12 left an indelible mark on Plaintiff,

Charlottesville, and the rest of the country. Three innocent people lost their lives: a peaceful

protestor, Heather Heyer, and two state law enforcement officers, Lieutenant H. Jay Cullen and

Trooper Pilot Berke M.M. Bates. At least 34 individuals, including Plaintiff Burke, were injured

and countless others were victims of assault. Hundreds, if not thousands, were subjected to

verbal abuse, threats, harassment, and intimidation when Defendants, co-conspirators, and their




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followers chanted and shouted overtly anti-Semitic, racist, fascist, xenophobic, and homophobic

messages.

       143.    Countless public officials, including Virginia’s governor Terry McAuliffe,

Attorney General Jeff Sessions, and Senators Cory Gardner, Ted Cruz, and Ron Wyden, have

recognized that the Unite the Right “rallygoers” were motivated by racism, xenophobia, and anti-

Semitism, that the “rallygoers” engaged in hate-based violence, and that the events that unfolded

were properly characterized as domestic terrorism.

       144.    On September 12, 2017, Congress passed a unanimous and bipartisan joint

resolution “rejecting white nationalists, white supremacists, the Ku Klux Klan, neo-Nazis, and

other hate groups,” recognizing that they engaged in a “horrific and violent display of bigotry” in

Charlottesville, and condemning “the violence and domestic terrorist attack that took place

during events between August 11 and August 12, 2017.”

       145.    The joint resolution also documented that the hate-based groups are “organizing

similar events” around the country, and urged the President to “speak out against hate groups that

espouse racism, extremism, xenophobia, anti-Semitism, and white supremacy,” and address “the

threats posed by those groups,” which are currently growing within the United States.

       146.    President Trump signed the resolution, and issued a signing statement “oppos[ing]

hatred, bigotry, and racism in all forms.”

                                 Defendants’ Acts of Conspiracy
       147.    As detailed above, all Defendants had an agreement and understanding to engage

in, promote, and incite racial, religious, and ethnicity-based harassment and violence. They did

so through, among other things, using and encouraging the use of weapons and caustic

substances, military-style marches, burning torches, intimidating iconography, and terroristic



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threats of violence. They did so in order to (a) injure non-white and religious minority residents

of Virginia by denying them the equal privileges and immunities of citizenship, and the use,

benefits and privileges of property and/or contractual relationships, (b) further Defendants’ cause

of recruiting new followers to engage in racial, religious and ethnically-motivated violence

referenced above both at the Unite the Right rally and in the future, and (c) compel the city of

Charlottesville to maintain the statue of Robert E Lee in Emancipation Park as a means of

furthering their aforementioned goals.

        148.    All Defendants, with the exception of Defendant Fields (who committed the most

severe violent and terroristic act himself), on behalf of themselves or the organizations for which

they are agents provided financial support, planned and coordinated the Unite the Right rally,

encouraged attendance, actively organized followers to attend, coordinated logistical support to

attendees, promoted the rally as violent, and/or encouraged attendees to prepare for and commit

violent acts.

        149.    Among other things, they used online and media platforms to encourage

attendance at the Unite the Right “rally,” to discuss and promote causing harm and commit

violence against non-white people and religious and ethnic minorities.

        150.    Defendants Ray and co-conspirator David Duke attended an in-person planning

meeting on August 11 to plan unlawful acts of violence, intimidation, and denial of equal

protection at the Unite the Right events.

        151.    Defendants Andrew Anglin and Ray (using, among other things, Daily Stormer’s

website) organized and caused others to attend the Unite the Right events and commit acts of

violence, intimidation and denial of equal protection.




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          152.   Defendants Nationalist Front, TWP, Vanguard America, and “other allies,”

coordinated their attendance as a “joint operation” in advance of August 12, in order to plan

unlawful acts of violence, intimidation, and denial of equal protection at the Unite the Right

events.

          153.   Defendants Kessler organized the “rally” and coordinated logistics for attendees

on August 12 in Charlottesville so that they would engage in unlawful acts of violence,

intimidation, and denial of equal protection at the Unite the Right events.

          154.   Defendant Kessler moderated, reviewed, and managed the Charlottesville

discussion forum on the application named Discord to direct and plan unlawful acts of violence,

intimidation, and denial of equal protection at the Unite the Right events. Along with Kessler,

Defendants Heimbach, Ray (an agent of Daily Stormer, and, hence, Defendants Andrew Anglin

Moonbase Holdings, Gregory Anglin, Morningstar Ministries, and Anglin & Anglin LLC), and

co-conspirator Tyrone were all participants in Discord and in the direction, planning, and inciting

of such unlawful acts through Discord, including the use of weapons and objects to inflict harm

and intimidate. Defendants Vanguard America, TWP, and Moonbase Holdings (through Daily

Stormer) all had members on the Discord channel.

          155.   Defendants Ray and Andrew Anglin, among others, advised rallygoers on

bringing weapons.

          156.   Using Discord, Defendant Kessler set up a channel for co-conspirators to

coordinate unlawful acts at the Unite the Right events, including acts of violence, intimidation,

and denial of equal protection.




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       157.    Defendants Andrew Anglin and Ray, through Daily Stormer and Moonbase

Holdings, set up a channel for co-conspirators to coordinate unlawful acts, including acts of

violence, intimidation, and denial of equal protection, at the Unite the Right events.

       158.    Defendants Kessler, Andrew Anglin, Greg Anglin, Ray, and others, raised funds,

planned for legal support, and arranged travel for the participants who engaged in unlawful acts

of violence, intimidation, and denial of equal protection at the Unite the Right events.

       159.    Defendants Invictus, Kessler, Spencer, and Heimbach were featured in the

promotional poster for the Unite the Right “rally.”

       160.    Defendants Spencer, Kessler, Ray, Andrew Anglin, Greg Anglin, and co-

conspirators planned and organized a “secret” torch parade at UVA for August 11, with a plan

and intent to intimidate, threaten and harass Charlottesville residents, particularly Jews, blacks

and other minority residents.

       161.    Defendants Spencer, Kessler, Ray and Invictus attended and participated in the

violent August 11 torch parade, and directed and incited physical assaults and violence, the use

of open flames, and the intimidation of minority residents and those who advocate for equal

rights for minority citizens.

       162.    Co-conspirators attended the torchlight march on August 11 and engaged in acts

of intimidation, harassment, and violence.

       163.    All Defendants, with the exception of Andrew Anglin and Greg Anglin (who

provided financial and logistical support to the “rally”), attended and participated in the Unite the

Right “rally” on August 12, during which they threatened, intimidated, and harassed protestors

and minority residents. Defendant Fields attended with Vanguard America, wearing the uniform

white polo and khakis, and carrying a black shield with the Vanguard logo.



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       164.    All Defendants, with the exception of Defendant Fields, directed and/or incited

acts of violence and intimidation at the Unite the Right “rally” on August 12.

       165.    Co-Conspirators attended the Unite the Right “rally” on August 12 and engaged

in acts of intimidation, harassment, and violence, in furtherance of a violent, criminal, and

terroristic conspiracy.

       166.    Defendant Fields deliberately drove his Dodge Challenger into a crowd of

peaceful protestors on August 12, intending to instill fear in the community and to cause injuries

on a mass scale.

                                        LEGAL CLAIMS
                                        Count One
Violation of 18 U.S.C. § 1962(c) – Racketeer Influenced Criminal Organization (RICO) Act
   (Against Defendants Andrew Anglin, Gregory Anglin, The Daily Stormer, Moonbase
        Holdings, LLC, Morning Star Ministries, Inc., and Anglin & Anglin LLC)

       167.    Plaintiff re-alleges all prior paragraphs of the Complaint as if set out here in full.

       168.    Defendants are persons within the meaning of 18 U.S.C. § 1961(3).

       169.    At all relevant times, the “Anglin Enterprise” constitutes an “Enterprise” within

the meaning of 18 U.S.C. §§ 1961(4) and 1962(c). At all relevant times, the Anglin Enterprise

was engaged in, and/or its activities affected, interstate commerce and/or foreign commerce

within the meaning of 18 U.S.C. § 1962(c). At all relevant times, the Defendants who comprise

the Anglin Enterprise participated in the operation, management, and directed the affairs of the

Anglin Enterprise. The Anglin Enterprise acted in the furtherance of the criminal, violent, and

terroristic conspiracy that culminated on August 12, 2017 by providing financial and logistical

support for the acts carried out by agents and allies of the Anglin Enterprise, Defendants and co-

conspirators, causing great injury to Plaintiff Burke.




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        170.    The Defendants’ activities were interrelated, not isolated, and involved a

calculated series of repeated violations of the law in order to conceal and promote illegal activity,

namely the support of a conspiratorial terroristic plot that unfolded in Charlottesville, Virginia on

August 12, 2017. The Anglin Enterprise has existed with the current members and others as yet

unknown since at least as long as Gregory Anglin has allowed his businesses and mailing

addresses to be used to conceal and obscure donations made to his son for the furtherance of a

violent, criminal, and terroristic conspiracy. Further, Defendant Gregory Anglin is directly

involved in this violent, criminal, and terroristic conspiracy as he personally performed financial

transactions for his son, Andrew Anglin, in the furtherance of this violent, criminal, and

terroristic conspiracy. This conduct and activity has continued as of the date of this Complaint.

        171.    Defendants Gregory Anglin, Morning Star Ministries USA, Inc., and Anglin &

Anglin LLC’s material financial support of Defendants Andrew Anglin and the Daily Stormer’s

violent, criminal, and terroristic conspiracy is a violation of 18 U.S.C. § 2339A (providing

material support to terrorists).

        172.    Defendant Gregory Anglin, Morning Star Ministries USA, Inc., and Anglin &

Anglin LLC’s direct and indirect participation in the Anglin Enterprise’s affairs through the

pattern of racketeering and activity described herein constitutes a violation of 18 U.S.C. §

1962(c).

        173.    Defendant Andrew Anglin, through Defendants Moonbase Holdings, LLC, and

Daily Stormer, then used the profits and proceeds collected and/or obscured by Defendant

Gregory Anglin in the furtherance of the violent, criminal, and terroristic conspiracy that

culminated on August 12, 2017.




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       174.    Each of the predicate acts referred to in the preceding paragraphs was for the

purpose of executing the Anglin Enterprise’s unlawful scheme, to incite terroristic violence.

Defendant members of the Anglin Enterprise engaged in such acts with the specific intent of

furthering that scheme, willfully and with knowledge of the illegality of said scheme.

       175.    Defendants who comprise the Anglin Enterprise have, on multiple occasions,

conducted or attempted to conduct a financial transaction with the intent to promote the carrying

on of specified unlawful activity, including, but not limited to violations of 18 U.S.C. § 2339A

(providing material support to terrorists). RICO Defendants have, therefore, violated 18 U.S.C. §

1956(a)(3)(A) and 18 U.S.C. § 1956(a)(3)(B).

       WHEREFORE, Plaintiff Burke demands judgment against Defendants, jointly and

severally, in the amount of THREE MILLION DOLLARS ($3,000,000.00) for compensatory

damage and punitive damages in the amount of $350,000, treble damages, attorneys’ fees and

costs, together with pre and/or post-judgment interest, the costs of this proceeding, and any

further relief that this Honorable Court deems appropriate according to law.

                                       Count Two
                                         Battery
              (Against Defendant James Alex Fields, Jr. and Vanguard America)

       176.    Plaintiff re-alleges all prior paragraphs of the Complaint as if set out here in full.

       177.    At all material times, Defendant was acting as a member and agent of Vanguard

America and in furtherance of the stated goal of promoting hatred, preventing the removal of

Confederate monuments, and intimidating nonwhite people, religious and ethnic minorities, and

those who support equal rights.




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        178.    As a result of the intentional and unlawful acts of Defendants as described herein,

Plaintiff has been subjected to the severe psychological and emotional stress of knowing

Defendant Fields attempted to take his life.

        179.    Defendant Fields’ act of intentionally driving his vehicle into Plaintiff and others

constituted an intentional and aggravated attempt to take their lives. Defendant Fields did

succeed in killing one person, Heather Hayer.

        180.    At all material times, Defendant Fields, utilized his motor vehicle as a deadly

weapon under his direct control which he used to intentionally strike Plaintiff and others in an

attempt to take their lives.

        181.    By reason of the foregoing, Plaintiff was severely injured and suffered the severe

mental, emotional, and psychological stress of knowing Defendant Fields attempted to take his

life on August 12, 2017, in addition to witnessing the death of Heather Hayer. Plaintiff has

received medical care and treatment and incurred medical expenses and will continue to incur

future expenses thereof, and was prevented from attending to the duties of his employment and

lost salary and earning and will lose future salary and earning thereby.

        WHEREFORE, Plaintiff demands judgment against Defendant Fields in the amount of

THREE MILLION DOLLARS ($3,000,000.00) for compensatory damage and punitive damages

in the amount of $350,000, together with pre and/or post-judgment interest, the costs of this

proceeding, attorneys’ fees, and any further relief that this Honorable Court deems appropriate

according to law.

                                        Count Three
                                           Assault
               (Against Defendant James Alex Fields, Jr. and Vanguard America)

        182.    Plaintiff re-alleges all prior paragraphs of the Complaint as if set out here in full.



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        183.    At all material times, Defendant was acting as a member and agent of Vanguard

America and in furtherance of the stated goal of promoting hatred, preventing the removal of

Confederate monuments, and intimidating nonwhite people, religious and ethnic minorities, and

those who support equal rights.

        184.    As a result of the intentional and unlawful acts of Defendants as described herein,

Plaintiff was subject serious physical harm and offensive bodily contact, from which Plaintiff has

suffered serious personal injury.

        185.    Defendant Fields’ act of intentionally driving his vehicle into Plaintiff and others

constituted an intentional, nonconsensual and unwanted touching with the attempt to cause

physical harm without any justification, excuse, or consent, and was a felonious assault.

        186.    At all material times, Defendant Fields’ utilized his motor vehicle as a deadly

weapon under his direct control which he used to intentionally strike Plaintiff and others in an

attempt to take their lives.

        187.    By reason of the foregoing, Plaintiff was severely injured and suffered great

physical, mental and emotional pain and received medical care and treatment and incurred

medical expenses and will continue to incur future expenses thereof and was prevented from

attending to the duties of his employment and lost salary and earnings and will lose future salary

and earnings thereby.

        WHEREFORE, Plaintiff demands judgment against Defendant Fields in the amount of

THREE MILLION DOLLARS ($3,000,000.00) for compensatory damage and punitive damages

in the amount of $350,000, together with pre and/or post-judgment interest, the costs of this

proceeding, attorneys’ fees, and any further relief that this Honorable Court deems appropriate

according to law.



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                                              Count Four
                                           Civil Conspiracy
                                     (Against All Defendants)
       188.    Plaintiff re-alleges all prior paragraphs of the Complaint as if set out here in full.

       189.    Defendants unlawfully, willfully and knowingly conspired, confederated, aided

and abetted, tacitly and/or expressly agreed to participate, cooperate, and engage in unlawful and

tortious acts pursuant to a common course of conduct, namely the incitement, promotion, and

sponsoring of violent acts and terrorism for the purpose of instilling fear in the public and

obtaining a reversal of the City’s decision to remove the Robert E. Lee statue, and for the general

promotion of a white supremacist and nationalist political ideology.

       190.    As set forth above, Defendants conspired with, encouraged, and agreed to provide

material support, funding, sponsorship, aiding and abetting, and/or other material resources to

Defendant Fields and other white supremacists and/or white nationalists in furtherance of the

conspiracy.

       191.    At all material times, Defendants engaged in commonly motivated, organized,

and conspiratorial acts of violence designed and intended to cause physical harm and incite fear

in the public, including the attack that injured Plaintiff Burke, and caused the death of Heather

Heyer in Plaintiff’s immediate physical proximity.

       192.    Defendants knew or should have known that their actions and material support to

white supremacist and white nationalists would directly result in acts of violence in

Charlottesville, Virginia.

       193.    Defendant Fields agreed to commit unlawful acts of violence against the public in

order to incite and instill fear in them, and to further the interests of the white supremacist




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organizations attempting to wage a civil war against minorities and supporters of equality who

have challenged their hateful ideologies.

       194.    Defendants acted in concert and/or agreement to further their common goal of

inciting fear in the public; promoting hatred and violence towards minorities and supporters of

equal rights; and maintaining Confederate monuments in public spaces.

       195.    As a direct and proximate result of the conspiracy, and through the direct and

material support provided by Defendants at and leading up to the Unite the Right rally,

Defendant Fields intentionally and purposefully planned and implemented an attack upon

civilians, resulting in severe physical and psychological harm and injury to Plaintiff Burke.

       196.    As co-conspirators, Defendants are civilly liable to Plaintiff for the actions of

Defendant Fields in the terrorist attack as each of the parties were acting in pursuit of the

common conspiratorial scheme.

       197.    As a result of the Defendants’ concert of action and conspiracy to commit acts of

violence and domestic terrorism, Plaintiff has suffered severe damage to his person and property.

       WHEREFORE, Plaintiff demands judgment against Defendants, jointly and severally,

in the amount of THREE MILLION DOLLARS ($3,000,000.00) for compensatory damage and

punitive damages in the amount of $350,000, together with pre and/or post-judgment interest, the

costs of this proceeding, attorneys’ fees, and any further relief that this Honorable Court deems

appropriate according to law.

                                           Count Five
                                       Inciting to Violence
                                     (Against All Defendants)

       198.    Plaintiff re-alleges all prior paragraphs of the Complaint as if set out here in full.




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       199.    Pursuant to Ohio Revised Code §2307.60, any person injured by a criminal act

may recover damages in a civil action.

       200.    Pursuant to Ohio Revised Code § 2917.01, a person or persons are guilty of

“inciting to violence” if that person or persons knowingly engage in conduct designed to urge or

incite another to commit any offense of violence, when either of the following apply:

               (1) The conduct takes place under circumstances that create a clear and present

                   danger that any offense of violence will be committed;

               (2) The conduct proximately results in the commission of any offense of violence.

       201.    Pursuant to Ohio Revised Code § 2917.01, if the offense of violence that the other

person is urged or incited to commit is a felony, inciting to violence is a felony.

       202.    Defendants conspired to plan, perpetrate and cause a riot in a manner that would

result in the use of force and violence against residents of Charlottesville and counter-protesters.

       203.    Defendants actions in directing, inciting and soliciting others, including Fields, to

commit acts of force and violence is a violation of Ohio Revised Code § 2917.01.

       204.    Defendants conspired to create an unlawful assembly designed to incite a riot and

cause disorderly conduct.

       205.    Defendants conduct was intended or recklessly created a risk of deadly violence

and attacks upon residents of Charlottesville and peaceful demonstrators like Plaintiff Burke.

       206.    As a proximate result of Defendants' violation of the aforesaid statutes, said

violations constitute a breach of the duties owed to Plaintiff Burke and caused Plaintiff’s injuries.

       207.    The injuries suffered by Plaintiff are the exact type of harm against which Ohio

Revised Code § 2917.01 was designed to protect.




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        WHEREFORE, Plaintiff demands judgment against Defendants, jointly and severally,

in the amount of THREE MILLION DOLLARS ($3,000,000.00) for compensatory damage and

punitive damages in the amount of $350,000, together with pre and/or post-judgment interest, the

costs of this proceeding, attorneys’ fees, and any further relief that this Honorable Court deems

appropriate according to law.

                                         Count Six
                                        (Terrorism)
                (Against Defendant James Alex Fields and Vanguard America)

        208.    Plaintiff re-alleges all prior paragraphs of the Complaint as if set out here in full.

        209.    Pursuant to Ohio Revised Code §2307.60, any person injured by a criminal act

may recover damages in a civil action.

        210.    Pursuant to Ohio Revised Code § 2909.24, any person that commits a terrorist

attack is guilty of a felony.

        211.    Ohio Revised Code § 2909.24 clearly defines an “act of terrorism” as the

commission of a “specified offense” with purpose to do any of the following:

                (1)     Intimidate or coerce a civilian population;

                (2)     Influence the policy of any government by intimidation or coercion, or;

                (3)     Affect the conduct of any government by the specified offense.

        212.    Ohio Revised Code § 2909.21 defines “specified offenses” that can constitute an

act of terrorism include any felony offense of violence, including Defendant Fields’ felony

assault and attempted commission of aggravated murder against Plaintiff Burke.

        213.    Ohio Revised Code § 2909.24 was enacted to protect civilians like Plaintiff Burke

and the rest of the population at large from acts of terrorism and violence, such as the act

perpetrated by Defendant Fields and abetted by other Defendants.



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       214.    Defendant Fields intentionally drove his vehicle, using it as a deadly instrument,

into a group of civilians and peaceful, nonviolent protestors with the intent to injure and

intimidate the civilian population at large.

       215.    Defendant Fields intentionally drove his vehicle into a group of civilians and

peaceful, nonviolent protestors for the purpose of influencing the conduct of Charlottesville City

Council, and the political life of Charlottesville and the country at large, through his terroristic

acts of violence.

       216.    At all material times, Defendant was acting as a member and agent of Vanguard

America and in furtherance of the stated goal of promoting hatred, preventing the removal of

Confederate monuments, and intimidating nonwhite people, religious and ethnic minorities, and

those who support equal rights.

       217.    As a proximate result of Defendant Field’s actions and violation of the aforesaid

statute, he caused Plaintiff Burke’s serious, long-term, and permanent injuries.

       218.    The physical, emotional, and psychological injuries suffered by Plaintiff were the

exact type of harm against which Ohio Revised Code § 2909.24 and § 2909.21 was designed to

protect.

       WHEREFORE, Plaintiff demands judgment against Defendants in the amount of

THREE MILLION DOLLARS ($3,000,000.00) for compensatory damage and punitive damages

in the amount of $350,000, together with pre and/or post-judgment interest, the costs of this

proceeding, attorneys’ fees. and any further relief that this Honorable Court deems appropriate

according to law.

                                          Count Seven
                    Soliciting or Providing Support for an Act of Terrorism
                                    (Against All Defendants)



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       219.    Plaintiff re-alleges all prior paragraphs of the Complaint as if set out here in full.

       220.    Pursuant to Ohio Revised Code §2307.60, any person injured by a criminal act

may recover damages in a civil action.

       221.    Pursuant to Ohio Revised Code § 2909.22 any person who raises, solicits,

collects, donates, or provides any material support or resources, with purpose that the material

support or resources will be used in whole or in part to plan, prepare, carry out, or aid in either an

act of terrorism or the concealment of, or an escape from, an act of terrorism, is guilt of a felony.

       222.    Defendant Fields’ car attack was a terrorist attack.

       223.    Ohio Revised Code § 2909.21 defines “material support or resources” as

communications, lodging, training, facilities, weapons, personnel, transportation, and other

physical assets.

       224.    Ohio Revised Code § 2909.22 was enacted to protect civilians like Plaintiff Burke

and the rest of the population at large from acts of terrorism and violence, such as the act

perpetrated by Defendant Fields and abetted and supported by other Defendants.

       225.    Defendant Fields intentionally drove his vehicle, using it as a deadly instrument,

into a group of civilians and peaceful, nonviolent protestors with the intent to injure and

intimidate the civilian population at large.

       226.    Defendant Fields intentionally drove his vehicle into a group of civilians and

peaceful, nonviolent protestors for the purpose of influencing the conduct of Charlottesville City

Council, and the political life of Charlottesville and the country at large, through his terroristic

acts of violence.




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       227.    At all material times, Defendants, acting as individuals and as representatives,

members, and agents of their respective groups and organizations, conspired with Defendant

Fields to commit acts of violence against the public in furtherance of their goal of promoting

hatred, preventing the removal of Confederate monuments, and intimidating nonwhite people,

religious and ethnic minorities, and those who support equal rights.

       228.    As a proximate result of Defendant Field’s actions and violation of the aforesaid

statute, he caused Plaintiff Burke’s serious, long-term, and permanent injuries.

       229.    The physical, emotional, and psychological injuries suffered by Plaintiff were the

exact type of harm against which Ohio Revised Code § 2909.22 and § 2909.21 was designed to

protect.

       WHEREFORE, Plaintiff demands judgment against Defendants, jointly and severally,

in the amount of THREE MILLION DOLLARS ($3,000,000.00) for compensatory damages and

punitive damages in the amount of $350,000, together with pre and/or post-judgment interest, the

costs of this proceeding, attorneys’ fees, and any further relief that this Honorable Court deems

appropriate according to law.

                                         Count Eight
                                          Negligence
                                  (Against Defendant Kessler)

       230.    Plaintiff re-alleges all prior paragraphs of the Complaint as if set out here in full.

       231.    As an organizer of the "Unite the Right Rally" and demonstration, Defendant

Kessler owed a duty to take direct actions and measures to assure that the Rally would be safe for

attendees and residents in the immediate area of the public gathering.

       232.    Defendant Kessler was on direct notice of the violence to be expected at his Rally

and the possible harm to bystanders and residents of Charlottesville.



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       233.    Prior to the Rally, officials of the city of Charlottesville informed Defendant

Kessler that the event, as planned by Kessler, would not be safe due to the number of expected

attendees and the location of the demonstration.

       234.    Defendant Kessler witnessed, encouraged and participated in violence against

counter-protesters in smaller demonstrations in Charlottesville months before the August 12,

2017 event, including the night of August 11, 2017.

       235.    Defendant Kessler breached his duty of care and was, therefore negligent by

failing to take appropriate measures to assure that there would not be an escalation of violence,

including but not limited to, changing the venue of the demonstration, canceling the rally

following the violence on the evening of August 11, 2017, implementing measures to assure that

rallygoers would not carry weapons, and denouncing all acts of violence against citizens and

counter-protesters.

       236.    At all material times, Defendant Kessler negligently and recklessly incited,

encouraged and participated in violent attacks, that abetted Defendant Fields’ terroristic car

attack that caused Plaintiff Burke’s serious and permanent injuries..

       WHEREFORE, Plaintiff demands judgment against Defendant Kessler in the amount of

THREE MILLION DOLLARS ($3,000,000.00) for compensatory damage and punitive damages

in the amount of $350,000, together with pre and/or post-judgment interest, the costs of this

proceeding, and any further relief that this Honorable Court deems appropriate according to law.

                                            Count Nine
                             Civil Protective Order O.R.C. 2903.214
                           (Against Defendant Honorable Sacred Knights)

       237.    Plaintiff re-alleges all prior paragraphs of the Complaint as if set out here in full.




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       238.     On or about March 11, 2019, Defendant, by or through its agents, sent a text

message to Plaintiff’s cell phone.

       239.     The phone number from which the text messages were sent, 812-777-2991, is

linked to a Facebook page and twitter account associated with the Honorable Sacred Nights.

       240.     The Honorable Sacred Nights member appears to believe that he is messaging

Burke’s wife.

       241.     The Honorable Sacred Nights member states, among other things, that, “…we

have eyes everywhere. Let him (Bill) know that we are your doctors lawyer police

neighbors…we don’t do Jew social media. But we do see.”

       242.     The threatening nature of the text message violates O.R.C. 2903.211, Menacing

by Stalking.

       243.     All members of The Honorable Sacred Nights are 18 years or older.




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                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully request an award of the following relief:

       244.    A declaratory judgment that the actions described herein deprived Plaintiff of his

rights under federal and state law.

       245.    Injunctive relief enjoining Defendants from future violations of rights guaranteed

by state and federal law.

       246.    Compensatory and statutory damages in an amount to be determined at trial.

       247.    Punitive damages in an amount to be determined at trial.

       248.    Attorneys’ fees and costs.

       249.    A civil protective order against any and all members of the Honorable Sacred

Knights.

       250.    Such other relief as the Court deems necessary and just.




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DATED: May 16, 2019




                                                            Respectfully submitted,


                                                              s/ Michael L. Fradin
                                                              Attorney for Plaintiff

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